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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ANDRAS FARKAS, CA Bar #254302
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    ROBERT J. BEJARANO

7
8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                     )    1:15-cr-00229 DAD-BAM- (002)
                                                   )
12                          Plaintiff,             )
                                                   )    WAIVER OF DEFENDANT’S PERSONAL
13          v.                                     )    PRESENCE; ORDER THEREON
                                                   )
14   ROBERT J. BEJARANO,                           )
                                                   )
15                          Defendant.             )

16
            Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, Robert J. Bejarano, having been
17
     advised of his right to be present at all stages of the proceedings, hereby requests that this Court
18
     proceed in his absence on every occasion that the Court may permit, pursuant to this waiver.
19
20   Defendant agrees that his interests shall be represented at all times by the presence of his

21   attorney, the Office of the Federal Defender for the Eastern District of California, the same as if
22   Defendant were personally present, and requests that this court allow his attorney-in-fact to
23
     represent his interests at all times. Defendant further agrees that notice to Defendant's attorney
24
     that Defendant's presence is required will be deemed notice to the Defendant of the requirement
25
     of his appearance at said time and place.
26
27   ///

28   ///
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1    DATED:      December 9, 2015                       /s/ ROBERT BEJARANO
                                                        ROBERT J. BEJARANO
2
3
     DATED: December 9, 2015                            /s/Andras Farkas
4                                                       ANDRAS FARKAS
                                                        Assistant Federal Defender
5                                                       Attorney for Defendant
                                                        ROBERT J. BEJARANO
6
7
8                                              ORDER
9           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
10   appearance may be waived at any and all proceedings until further order.
11
     IT IS SO ORDERED.
12
13      Dated:     December 9, 2015                         /s/ Barbara A. McAuliffe   _
                                                      UNITED STATES MAGISTRATE JUDGE
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